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12/13/2019 09:06 AM CST




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                                  Nebraska Supreme Court A dvance Sheets
                                          304 Nebraska R eports
                                  STATE EX REL. COUNSEL FOR DIS. v. HOFFMAN
                                               Cite as 304 Neb. 323



                          State     of   Nebraska ex rel. Counsel for Discipline
                                of the     Nebraska Supreme Court, relator,
                                        v. Craig A. Hoffman, respondent.
                                                     ___ N.W.2d ___

                                         Filed October 25, 2019.   No. S-17-1123.

                    Original action. Judgment of disbarment.

                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.

                    Per Curiam.
                                      INTRODUCTION
                  This case is before the court on the voluntary surrender of
               license filed by respondent, Craig A. Hoffman, on September
               10, 2019. The court accepts respondent’s voluntary surrender
               of his license and enters a judgment of disbarment.

                                  STATEMENT OF FACTS
                  Respondent was admitted to the practice of law in the State
               of Nebraska on September 17, 2002. This court temporarily
               suspended him on May 17, 2018. There are presently five
               Class IIA felony charges of theft by deception ($5,000 or
               more) pending against respondent in Lancaster County Court.
               On September 10, 2019, respondent filed a voluntary surren-
               der of license to practice law, in which he stated that he was
               being investigated by relator for various complaints implicat-
               ing respondent’s client trust account. The surrender stated that
               relator is prepared to file formal disciplinary charges against
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           Nebraska Supreme Court A dvance Sheets
                   304 Nebraska R eports
           STATE EX REL. COUNSEL FOR DIS. v. HOFFMAN
                        Cite as 304 Neb. 323
respondent. Respondent states that he knowingly does not con-
test the truth of the allegations indicated by relator. Respondent
stated that he freely and voluntarily surrenders his privilege
to practice law in the State of Nebraska; waives his right to
notice, appearance, or hearing prior to the entry of an order of
disbarment; and consents to the entry of an immediate order
of disbarment.

                           ANALYSIS
   Neb. Ct. R. § 3-315 of the disciplinary rules provides in
pertinent part:
         (A) Once a Grievance, a Complaint, or a Formal
      Charge has been filed, suggested, or indicated against a
      member, the member may voluntarily surrender his or
      her license.
         (1) The voluntary surrender of license shall state in
      writing that the member knowingly admits or knowingly
      does not challenge or contest the truth of the suggested
      or indicated Grievance, Complaint, or Formal Charge
      and waives all proceedings against him or her in connec-
      tion therewith.
Pursuant to § 3-315 of the disciplinary rules, we find that
respondent has voluntarily surrendered his license to practice
law and knowingly does not challenge or contest the truth of
the allegations that could be made against him in connection
with his client trust account. Further, respondent has waived all
proceedings against him in connection therewith. We further
find that respondent has consented to the entry of an order
of disbarment.

                        CONCLUSION
   Upon due consideration of the court file in this matter, the
court finds that respondent has stated that he freely, knowingly,
and voluntarily admits that he does not contest the allega-
tions being made against him. The court accepts respondent’s
voluntary surrender of his license to practice law, finds that
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           Nebraska Supreme Court A dvance Sheets
                   304 Nebraska R eports
           STATE EX REL. COUNSEL FOR DIS. v. HOFFMAN
                        Cite as 304 Neb. 323
respondent should be disbarred, and hereby orders him dis-
barred from the practice of law in the State of Nebraska, effec-
tive immediately. Respondent shall forthwith comply with all
terms of Neb. Ct. R. § 3-316 (rev. 2014) of the disciplinary
rules, and upon failure to do so, he shall be subject to punish-
ment for contempt of this court. Accordingly, respondent is
directed to pay costs and expenses in accordance with Neb.
Rev. Stat. §§ 7-114 and 7-115 (Reissue 2012) and Neb. Ct.
R. §§ 3-310(P) (rev. 2019) and 3-323 of the disciplinary rules
within 60 days after an order imposing costs and expenses, if
any, is entered by the court.
                                     Judgment of disbarment.
